         Case 3:19-mj-00556-RMS Document 1 Filed 04/01/19 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT
                                                                                                FiL.EO
 IN RE: SUBPOENA TO TANGOME, INC.                    Case No.    3 ·/q
                                                                   · 1\'J· SS(DCI                APR - I P 3: 58
 N-18-3-21 (Control #64)                                                             U.S.~ O!STR!CT                  COURT
                                                     Filed Under Seal                  . · : · i~ , : :, ·/~ r. ~ , , CT
                                                                                         ~.   ~- I •       ' '   ,, \   [.-
                                                                                                                      ~' •
                                                                                                                              ·'




           APPLICATION FOR ORDER COMMANDING TANGOME, INC.
         NOT TO NOTIFY ANY PERSON OF THE EXISTENCE OF SUBPOENA

        On October 23, 2018, at the request of the United States, the Court issued an order directing

TangoMe, Inc. ("TangoMe"), not to notify any person (including the subscribers and customers of

the account(s) listed in the subpoena) of the existence of a subpoena issued to TangoMe (N-18-3-

21, control #64) for six months, i.e., until April 23, 2019. The United States now requests that the

Court extend the non-disclosure order for another six months, i.e., until October 23, 2019.

        TangoMe is a provider of an electronic communication service, as defined in 18 U.S.C. §

2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2). Pursuant to 18

U.S.C. § 2703, the United States obtained the subpoena, which requires TangoMe to disclose

certain records and information to the United States. This Court has authority under 18 U.S.C.

§ 2705(b) to issue "an order commanding a provider of electronic communications service or

remote computing service to whom a warrant, subpoena, or court order is directed, for such period

as the court deems appropriate, not to notify any other person of the existence of the warrant,
                                                                                                       I


subpoena, or court order." Id.

       In this case, such an order would be appropriate because the subpoena relates to an ongoing

criminal investigation that that is neither public nor known to all of the targets of the investigation,

and its disclosure may alert the targets to the ongoing investigation. The investigation relates to a

suspected ongoing securities fraud "pump and dump" scheme involving, among other individuals,

the subscribers and customers of the account(s) listed in the subpoena. Since the original non-
         Case 3:19-mj-00556-RMS Document 1 Filed 04/01/19 Page 2 of 2




disclosure order was issued on October 9, 2018, the investigation has progressed significantly, but

it remains covert. One of the targets of the investigation currently resides in the United States, but

is not a U.S. citizen and maintains ties to a foreign country. Accordingly, there is reason to believe

that notification of the existence of the subpoena will seriously jeopardize the investigation,

including by giving targets an opportunity to flee from prosecution, destroy or tamper with

evidence, or change patterns of behavior. See 18 U.S.C. § 2705(b). Some of the evidence in this

investigation is stored electronically. If alerted to the existence of the subpoena, the subjects under

investigation could destroy that evidence, including information saved to their personal computers.

       WHEREFORE, the United States respectfully requests that the Court grant the attached

Order directing TangoMe not to disclose the existence or content of the subpoena until October 9,

2019, except that TangoMe may disclose the subpoena to an attorney for TangoMe for the purpose

of receiving legal advice.

       The United States further requests that the Court order that this application and any

resulting order be sealed until further order of the Court. As explained above, these documents

discuss an ongoing criminal investigation that is neither public nor known to all of the targets of

the investigation.   Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation.

      Executed on March 29, 2019


                                               DOUGLAS P. MORABITO
                                               ASSISTANT UNITED STATES ATTORNEY
                                               Federal Bar No. ct20962
                                               United States Attorney's Office
                                               157 Church Street - 25 th Floor
                                               New Haven, CT 06510
                                               Douglas.Morabito@usdoj.gov




                                                  2
